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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT


 BAILEY BROADRICK,

                 Plaintiff,                                Case No. ________________

    v.

 NICHOLAS GILROY,

                 Defendant.


                       VERIFIED COMPLAINT AND JURY DEMAND

         Plaintiff, Bailey Broadrick (“Plaintiff”), as and for her Complaint against Defendant

Nicholas Gilroy, Plaintiff hereby complains and alleges as follows:

                                        INTRODUCTION

         “Exposing Bailey Broadrick’s nudes without her consent makes me cum so fucking hard.”

That is what the Defendant wrote when posting the Plaintiff’s photos. See Exhibit 1.

         One could have a moral compass pointing straight to Dante’s Ninth Circle of Hell and still

be appalled by the Defendant’s conduct. Mr. Gilroy weaponized an imbalance of power between

himself and Ms. Broadrick to coerce her into sending him nude photos. She did so, relying on

Gilroy’s promise that they would all be kept private. But he was not content to collect photos he

could coerce out of her. Gilroy went to a shocking level of depravity by taking surreptitious nude

photos of Broadrick when she was unconscious, sleeping off the exhaustion from cancer treatment.

         Up to that point, Gilroy seems to have only collected these photos for his own enjoyment.

That changed after Broadrick dumped Gilroy. After that, he began publishing the photos online,

and he ramped up the humiliation by creating and publishing deepfakes of Broadrick engaged in

sexual activity. He also solicited people to message Plaintiff Broadrick on LinkedIn, and shared




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identifying information in screenshots to make his desired harassment easier. Not content with

this level of harassment, he even sent the photos to her family.

       Gilroy wrote: “Bailey Broadrick would be in tears if she knew how many guys were jerking

to her naked body.” He was right. She was in tears. She was beaten down. But she is now

fighting back and wants justice for what Gilroy did to her.

                                 JURISDICTION AND VENUE

       1.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1332, and 1367.

       2.      Venue in this action is properly in this District. 28 U.S.C. § 1391. The events or

omissions giving rise to Plaintiff’s claims as alleged herein occurred and will continue to occur in

this District. Additionally, Defendant Nicholas Gilroy resides and may be found in this District.

                                             PARTIES

       3.      Plaintiff Bailey Broadrick is an individual residing in Maricopa County, Arizona.

       4.      Upon information and belief, Defendant Nicholas Gilroy is an individual residing

in Fairfield County, Connecticut.

                            FACTS COMMON TO ALL COUNTS

       5.      Defendant Nicholas Gilroy published intimate photographs of Plaintiff Broadrick

without authorization and with the specific intent to harm her and damage her personal and

business relationships.

       6.      On or about August 2014, Plaintiff met Defendant online, on the website Omegle.1



1
  Omegle is a now-defunct “chat roulette” website, where users would be randomly paired with
each other for text and video chatting sessions. However, Omegle became known for attracting
sexual predators, and in fact was shut down due to a lawsuit involving its failure to protect minors.
“Omegle shut down: Video chat website closed after abuse claims.” BBC NEWS. November 9,
2023. (found at https://www.bbc.com/news/business-67364634), last visited 7 December 2024.


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       7.      From the beginning of their relationship, there was always an inequity as Plaintiff

was a minor and Defendant was an adult.

       8.      Immediately after meeting online, Defendant began asking Plaintiff for intimate

photos. Initially, Plaintiff did not send any, as she was underage and doing so would have been

the production of child pornography.

       9.      Plaintiff and Defendant chatted online for about a month before they commenced a

long-distance relationship. At this point, Plaintiff was still a minor.

       10.     Plaintiff and Defendant met in person in 2015 when Plaintiff was a minor. Shortly

afterward, Plaintiff ended the initial relationship. However, they remained in an on-and-off

relationship throughout the years.

       11.     On or around the summer of 2020, Defendant told Plaintiff that he had created an

album on his iPhone and that he would like them to begin sharing intimate and explicit photographs

and videos using the iCloud album feature.

       12.     Plaintiff conditionally agreed to share photos and videos through the iCloud album

only after Defendant explicitly promised her that he would neither share nor show the intimate

photos or videos of her to any third parties.

       13.     Plaintiff relied upon Defendant’s explicit promise of confidentiality and privacy

when she began to share intimate photos and videos with Defendant.

       14.     Absent this explicit and unconditional promise, Plaintiff would never have shared

intimate photos with Defendant.

       15.     Defendant also shared intimate photos of himself in the shared album, but Plaintiff

maintained confidentiality of these photos pursuant to their shared express promise to do so.




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       16.      On or about May 2018, Plaintiff was diagnosed with cancer. She entered remission

and was diagnosed again on or about June 2020. Plaintiff’s cancer diagnosis in June 2020 required

chemotherapy.

       17.      Despite her being sick with cancer, Defendant insisted that Plaintiff keep sending

him intimate and nude photos and videos with her face fully visible.

       18.      If Defendant felt that Plaintiff was not sending enough photos or videos, he would

retaliate. This retaliation included criticizing her, acting moody and hurt, and engaging in further

emotional manipulation to press Plaintiff for more photographs.

       19.      In her weakened emotional state, Plaintiff succumbed to Defendant’s pressure and

manipulation, but did so with the understanding that Defendant had promised to keep all such

images and videos confidential.

       20.      In 2020, Defendant flew to Arizona to visit Plaintiff while she was undergoing

treatment and chemotherapy for cancer.

       21.      During Defendant’s trip to Arizona, Plaintiff informed him that she did not wish to

continue a relationship with him.

       22.      After Defendant returned to Connecticut, Plaintiff deleted the iCloud album from

her phone.

       23.      Defendant received a notification on his phone that Plaintiff deleted the iCloud

album from her phone. He called Plaintiff upset about this. During this call, Plaintiff asked

Defendant to fully delete the photos because they were broken up and there was no reason for him

to have them anymore. Defendant Gilroy responded that he would do so.

       24.      Due to this call, Plaintiff believed that Defendant also deleted the shared iCloud

album and would not use the intimate photos of her in any way.




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       25.     Plaintiff began dating someone else. She cut ties with Defendant and ceased

communicating with him.

       26.     On or about May 2023, Plaintiff received an anonymous message that intimate

photographs of her were published on the website Reddit along with her full name and terms like

“SLUT!” and “EXPOSED!”

       27.     Plaintiff recognized these photographs as those that were shared with Defendant.

       28.     All of these photos were published by Defendant or an agent of Defendant or

someone acting in conjunction with Defendant.

       29.     One Reddit post was titled: “Help me get Bailey Broadrick naked all over the

internet. That’s all.” See Exbibit 2.

       30.     One Reddit post was titled: “Anyone wanna cum go Bailey Broadrick?” Id.

       31.     One Reddit post was titled: “Dm me or Kik sorelekto if you want me to expose

Bailey Broadrick’s nudes so we can enjoy her naked body.” Id.

       32.     One Reddit post was titled: “Exposing Bailey Broadrick’s nudes without her

consent makes me cum so fucking hard.” See Exhibit 1.

       33.     One Reddit post was titled: “Who wants Bailey Broadrick naked?” Id.

       34.     One Reddit post was titled: “Dm to get Bailey Broadrick naked.” See Exhibit 3.

       35.     One Reddit post was titled: “Bailey Broadrick would be in tears if she knew how

many guys were jerking to her naked body.” See Exhibit 4.

       36.     One Reddit post was titled: “Who wants Bailey from HR to be exposed? Dm or kik

soreleckto to see her naked.” See Exhibit 5.

       37.     One Reddit post was titled: “K.i.k. soreleckto for Bailey naked.” Id.

       38.     One Reddit post was titled: “K i k soreleckto to get Bailey naked.” Id.




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       39.     One Reddit post was titled: “Dm or Kik soreleckto if you think Bailey Broadrick

should be exposed without her c0nsent.” Id.

       40.     One Reddit post was titled: “Can someone message Bailey on LinkedIn and tell her

you’ve seen her naked?” See Exhibit 6.

       41.     One Reddit post was titled: “K i k soreleckto if you want Bailey Broadrick

exposed.” See Exhibit 7.

       42.     One Reddit post was titled: “Dm me to text Bailey Broadrick her own nudes.” Id.

       43.     One Reddit post was titled: “Anyone want to message Bailey on LinkedIn and tell

her you’ve seen her naked? Kik soreleckto to show me and get her nudes.” See Exhibit 8.

       44.     One Reddit post was titled: “Exposing Bailey without her c0nsent makes my dick

feel so good. K i k soreleckto to get her naked.” Id.

       45.     One Reddit post was titled: “K i k soreleckto for Bailey’s pics that were meant to

be kept private.” See Exhibit 9.

       46.     One Reddit post was titled: “K i k soreleckto to see Bailey’s pics that were supposed

to remain private.” Id.

       47.     One Reddit post was titled: “K i k soreleckto to see Bailey Broadrick completely

naked.” See Exhibit 10.

       48.     One Reddit post was titled: “My goal is to expose Bailey Broadrick to as many

people as possible. K i k soreleckto to get her naked.” See Exhibit 11.

       49.     One Reddit post was titled: “Exposing Bailey Broadrick without her c0nsent, k i k

soreleckto to get her naked.” See Exhibit 12.

       50.     One Reddit post was titled: “K i k soreleckto to get Bailey Broadrick naked without

her c0nsent.” Id.




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       51.    One Reddit post was titled: “K i k soreleckto to see Bailey Broadrick from HR

completely exposed.” Id.

       52.    One Reddit post was titled: “K i k soreleckto if you think I should expose Bailey

Broadrick.” See Exhibit 13.

       53.    One Reddit post was titled: “Share Bailey Broadrick EVERYWHERE. K i k

soreleckto for more.” Id.

       54.    One Reddit post was titled: “This is Bailey Marin Broakrick from Phoenix Arizona.

K i k soreleckto to see her naked.” See Exhibit 14.

       55.    One Reddit post was titled: “Should Bailey Broadrick be stripped and exposed for

our own pleasure?” Id.

       56.    One Reddit post was titled: “I’m exposing my ex gf Bailey’s nudes, k i k soreleckto

to see them.” See Exhibit 15.

       57.    One Reddit post was titled: “Want Bailey Broadrick naked? K i k soreleckto.” See

Exhibit 16.

       58.    One Reddit post was titled: “K i k soreleckto if you think Bailey Broadrick’s naked

body should be exposed.” Id.

       59.    One Reddit post was titled: “I love having the power to expose Bailey without her

c0nsent.” See Exhibit 17.

       60.    One Reddit post was titled: “Bailey would be so upset being shared but exposing

makes my dick feel so good and that’s all I care about. K i k soreleckto to see her naked.” See

Exhibit 18.

       61.    One Reddit post was titled: “My ex Bailey Broadrick deserves to be naked all over

the internet.” See Exhibit 19.




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       62.    One Reddit post was titled: “K i k soreleckto and say Bailey Broadrick deserves to

be seen naked without her c0nsent.” See Exhibit 20.

       63.    One Reddit post was titled: “K i k soreleckto and say you want to see Bailey

Broadrick naked without her consent.” See Exhibit 21.

       64.    One Reddit post was titled: “K i k soreleckto and say you want Bailey Broadrick

naked without her consent.” See Exhibit 22.

       65.    One Reddit post was titled: “K i k soreleckto to see more of Bailey and help spread

her pics.” See Exhibit 23.

       66.    One EroMe post was titled “Help spread Bailey Broadrick’s naked body all over.”

See Exhibits 24-25.

       67.    One EroMe post was titled: “This is Bailey Broadrick from Phoenix Arizona.

Message soreleckto on Kik to see her completely naked.” See Exhibit 26.

       68.    One EroMe post was titled: “Message soreleckto on Kik to see Bailey Broadrick

fully naked including vids.” See Exhibit 27.

       69.    One EroMe post was titled: “Message soreleckto on Kik if you think Bailey

Broadrick should be completely exposed.” See Exhibit 28.

       70.    One EroMe post was titled: “Message soreleckto on Kik to see Bailey Broadrick

naked ;).” See Exhibit 29.

       71.    One EroMe post was titled: “Message soreleckto on Kik to get Bailey Broadrick

completely naked (nudes with face + vids).” See Exhibit 30.

       72.    One EroMe post was titled “Message soreleckto on Kik to enjoy more of Bailey.”

See Exhibit 31.

       73.    One EroMe post was titled “Message soreleckto on Kik for lots of pics and more

vids of Bailey Broadrick’s sexy naked body.” See Exhibit 32.


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       74.     The posts included Plaintiff’s full name, photos of Plaintiff, or screenshots of

Plaintiff’s information on LinkedIn.

       75.     These posts included instructions to DM or Kik Defendant at “soreleckto” for more

photos or videos of Plaintiff.

       76.     While some Reddit posts included the Kik username “sorelekto,” those posts

included Plaintiff’s full name or photos of her to identify her.

       77.     After being messaged about the intimate photos of her on Reddit, Plaintiff

Broadrick downloaded Kik and searched for the profile with the username “soreleckto.” She

discovered that Defendant had posted images of her to the “soreleckto” Kik profile.

       78.     Defendant was the only one with access to the photos posted on Reddit, EroMe,

and Kik.

       79.     The photos on EroMe were tagged with the hashtag “ex gf.” See Exhibits 33-35.

       80.     On or about July 2024, Plaintiff created a Kik account and messaged the

“soreleckto” user, pretending to be a third party that was interested in her intimate photos. See

Exhibit 36.

       81.     While the Kik user read Plaintiff’s message, he never responded to her.

       82.     Upon observation, Plaintiff noticed the profile photo of the “soreleckto” user on

Kik changed regularly, but that each and every photo was an intimate picture of Plaintiff. See

Exhibits 37-45.

       83.     Plaintiff also discovered, in viewing the images of her online, that Defendant had

taken other photos of her without her awareness or consent, notably when she was unconscious

recovering from chemotherapy.

       84.     Defendant also posted these photos.




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         85.     At least one of the photos that Plaintiff Broadrick found online was of her, nude

and asleep.2 In the corner of this photo, one can see the photographer’s hand. See Exhibit 46.

Plaintiff identified the hand as being Defendant’s hand, and recognized the setting as a room where

the two had stayed when she was recovering from cancer treatment.

         86.     Defendant was the only individual who had access to Plaintiff during the time the

photo was taken, and his hand appears in the photo.

         87.     Not only did Plaintiff not give her consent to Defendant to take this photo, she was

entirely unaware of the fact that Defendant had taken the photo until she found Defendant’s Kik

profile and saw it.

         88.     Defendant also made the photo of Plaintiff, nude and asleep following

chemotherapy, the cover photo of the “soreleckto” Kik profile for some time.

         89.     Plaintiff was further distressed to see that the Defendant had published photos of

her engaged in fellatio and manual stimulation. See Exhibits 47-48.

         90.     Plaintiff knew she had never been photographed doing the sexual acts depicted in

the photos. Defendant created deepfake images of Plaintiff.

         91.     Defendant continued his harassment by using Instagram to send nude photos of

Plaintiff to her brother.

         92.     The “soreleckto” user on Kik had a screenshot of a conversation initiated with

Plaintiff’s brother in which the sender posted intimate photos of Plaintiff in the conversation. The

screenshot was taken from the sender’s point of view, identifying “soreleckto” as the individual

who initiated the conversation with Plaintiff’s brother. See Exhibit 49.




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    Taken in violation of § 53a-189a Conn. Gen. Stat. (2024).


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       93.     Defendant Gilroy sent these photos to Plaintiff’s brother with hopes of driving a

wedge between Plaintiff and her family.

       94.     Defendant was successful and the rift with her family continues to this day.

       95.     All of Defendant Gilroy’s actions against Plaintiff Broadrick were willful and

malicious, as evidenced by his language choice, his admissions of intent, and his targeted

communications with people in Plaintiff Broadrick’s personal life.

       96.     Plaintiff has been terrified, fearful, and cowed by the mental anguish caused by

Defendant’s revenge porn and harassment campaign. Plaintiff Broadrick was even more severely

distraught after finding surreptitious photos had been taken of her naked body, especially when

she was suffering from the effects of chemotherapy, and that deepfake photos of her engaged in

sexual activities had been created.

       97.     Upon retaining counsel, Plaintiff felt empowered for the first time in years.

       98.     Plaintiff Broadrick texted “I know what you’re doing and I’m coming for you” to

Defendant.

       99.     While Defendant did not respond to the text message, Defendant rapidly made the

photos unable to be viewed by the public.

       100.    Upon receiving the slightest bit of pushback and the slightest sign of Plaintiff

Broadrick’s refusal to be a defenseless victim, Defendant decided to retreat from his sociopathic

campaign to harass Plaintiff Broadrick.

       101.    While it was always obvious that Defendant Gilroy was the individual who posted

these photographs of Plaintiff online, Defendant Gilroy’s response to Broadrick’s act of defiance

confirmed his identity as the perpetrator of the campaign to terrorize her.

       102.    Broadrick’s defiance continues in the form of this lawsuit, as Defendant must be




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held accountable for his actions. Despite having locked the photos the moment he met resistance,

his prior actions require injunctive relief lest he disturb the status quo and republish them or

otherwise distribute them. Additionally, Defendant’s posts still populate on online searches.

        103.    Plaintiff does not know if Defendant has published the photos elsewhere.

        104.    Plaintiff is currently in remission from ovarian cancer. During recent doctor visits,

her treating physician informed her that stress is causing her cancer markers to increase.

        105.    Gilroy’s unlawful, harassing, and sociopathic actions are the most significant

source of stress in Plaintiff’s life, and the only source of stress severe enough to cause her cancer

markers to increase. Gilroy knows that the Plaintiff is in this physical condition, and his

harassment campaign is knowing and willful and done for the purpose or harming Plaintiff. This

is not mere negligence, this is knowingly and willfully causing harm.

                                      CAUSES OF ACTION

                                             Count I
                                  Disclosure of Intimate Images
                                        (15 U.S.C. § 6851)

        106.    Plaintiff realleges the allegations contained in Paragraphs 1 through 105 as if set

forth fully herein.

        107.    A claim under the Violence Against Women Reauthorization Act (VAWRA)

requires: (1) an intimate visual depiction, (2) disclosure in interstate or foreign commerce, (3)

nonconsensual disclosure, and (4) disclosure by the defendant. 15 U.S.C. § 6851(b)(1)(A).

        108.    An intimate visual depiction under the VAWRA means “a visual depiction, as

defined in section 2256(5) of title 183 that depicts . . . the uncovered genitals, pubic area, anus, or


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 “‘Visual depiction’ includes undeveloped film and videotape, data stored on computer disk or by
electronic means which is capable of conversion into a visual image, and data which is capable of
conversion into a visual image that has been transmitted by any means, whether or not stored in a
permanent format.” 18 U.S.C. § 2256(5).


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post-pubescent female nipple of an identifiable individual; or the display or transfer of bodily

sexual fluids . . . from the body of an identifiable individual; or an identifiable individual engaging

in sexually explicit conduct.” 15 U.S.C. § 6851(5)(A).

       109.    Also in 15 U.S.C. § 6851, the depicted individual is “an individual whose body

appears in whole or in part in an intimate visual depiction and who is identifiable by virtue of the

person’s face, likeness, or other distinguishing characteristic, or from information displayed in

connection with the visual depiction.” 15 U.S.C. § 6851(3).

       110.    Sexually explicit conduct means “actual or simulated sexual intercourse, including

genital-genital, oral-genital, anal-genital, or oral-anal, whether between person of the same or

opposite sex; bestiality; masturbation; sadistic or masochistic abuse; or lascivious exhibition of the

anus, genitals, or pubic area of any person.” 18 U.S.C. § 2256(2)(A) (incorporated by reference

in 15 U.S.C. § 6851(a)(6)).

       111.    Here, intimate visual depictions of Plaintiff exist on Reddit, EroMe, and Kik. The

photos and videos identify Plaintiff by showing her face and using her name.

       112.    The photos and videos also show Plaintiff Broadrick’s breasts, nipples, and pubic

area, and they show her engaged in sexually explicit conduct in the form of oral-genital sexual

intercourse and masturbation. See Exhibits 47-61.

       113.    Under the VAWRA, disclose means “to transfer, publish, distribute, or make

accessible.” 15 U.S.C. § 6851(4).

       114.    The intimate visual depictions of Plaintiff Broadrick were disclosed in interstate or

foreign commerce when they were posted on Reddit, EroMe, and Kik.

       115.    Under the VAWRA, consent means “an affirmative, conscious, and voluntary

authorization made by the individual free from force, fraud, misrepresentation, or coercion.” 15

U.S.C. §6851(a)(2).


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       116.    Also in 15 U.S.C. § 6851, the fact that the Plaintiff consented to the creation of the

intimate visual depiction does not establish the Plaintiff’s consent to the distribution of the intimate

visual depiction. Further, the fact that the Plaintiff disclosed the intimate visual depiction to

someone else does not establish the Plaintiff’s consent to further disclosure of the intimate visual

depiction by the Defendant. 15 U.S.C. § 6851(b)(2)(A)-(B).

       117.    The disclosure of the intimate visual depictions of Plaintiff was nonconsensual as

they were published on the internet without her affirmation or authorization.

       118.    Further, none of the intimate visual depictions were consensually created as they

were given by coercion, or they were created while Plaintiff was not conscious, or they were

created with artificial intelligence without Plaintiff awareness.

       119.    Defendant knew that Plaintiff did not consent to any disclosure of the intimate

visual depictions, as evidenced by multiple Reddit post titles including:

               a. “Dm or Kik soreleckto if you think Bailey Broadrick should be exposed without

                   her c0nsent.”

               b. “Exposing Bailey Broadrick without her c0nsent, k i k soreleckto to get her

                   naked.”

               c. “K i k soreleckto to get Bailey Broadrick naked without her c0nsent”

               d. “I love having the power to expose Bailey without her c0nsent.”

               e. “Bailey would be so upset being shared but exposing makes my dick feel so

                   good and that’s all I care about. Kik soreleckto to see her naked.”

               f. “My ex Bailey Broadrick deserves to be naked all over the internet.”

               g. “K i k soreleckto and say Bailey Broadrick deserves to be seen naked without

                   her c0nsent.”




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                h. “K i k soreleckto and say you want Bailey Broadrick naked without her consent.

                i. “Exposing Bailey Broadrick’s nudes without her consent makes me cum so

                      fucking hard.”

                j. “My goal is to expose Bailey Broadrick to as many people as possible.”

        120.    Under the VAWRA, an individual may recover the actual damages sustained by the

individual or liquidated damages in the amount of $150,000, and the cost of the action, including

reasonable attorney’s fees and other litigation costs reasonably incurred; and the court may, in

addition to any other relief available at law, order equitable relief, including a temporary

restraining order, a preliminary injunction, or a permanent injunction ordering the defendant to

cease display or disclosure of the visual depiction.

        121.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered actual

damages in an amount to be proven at trial.

The harm caused to Plaintiff is irreparable, entitling her to equitable relief ordering Defendant to

cease display or disclosure of the visual depictions.

                                              Count II
                             Negligent Infliction of Emotional Distress

        122.    Plaintiff realleges the allegations contained in Paragraphs 1 through 105 as if set

forth fully herein.

        123.    In Connecticut, the elements for negligent infliction of emotional distress are: (1)

the defendant's conduct created an unreasonable risk of causing the plaintiff emotional distress;

(2) the plaintiff's distress was foreseeable; (3) the emotional distress was severe enough that it

might result in illness or bodily harm; and (4) the defendant's conduct was the cause of the

plaintiff's distress. Carrol v. Allstate Ins. Co., 262 Conn. 433, 444 (2003).




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        124.    Defendant created an unreasonable risk of causing Plaintiff emotional distress when

he published intimate photos of her on the Internet.

        125.    Plaintiff’s distress was foreseeable because Defendant knew she only shared

intimate photos with him after he agreed to not share the photos to any third parties.

        126.    Plaintiff suffered emotional distress so severe that it has caused her cancer markers

to increase.

        127.    Thus, the emotional distress suffered by Plaintiff was and is severe and not only

could result in illness or bodily harm, but it has resulted in illness and bodily harm.

        128.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered actual

damages in an amount to be proven at trial.

        129.    The harm caused to Plaintiff is irreparable, entitling her to equitable relief ordering

Defendant to cease display or disclosure of the visual depictions.

                                             Count III
                           Intentional Infliction of Emotional Distress

        130.    Plaintiff realleges the allegations contained in Paragraphs 1 through 105 as if set

forth fully herein.

        131.    In Connecticut, the elements for intentional infliction of emotional distress are: (1)

that the actor intended to inflict emotional distress or that he knew or should have known that

emotional distress was the likely result of his conduct; (2) that the conduct was extreme and

outrageous; (3) that the defendant's conduct was the cause of the plaintiff's distress; and (4) that

the emotional distress sustained by the plaintiff was severe. Carrol v. Allstate Ins. Co., 262 Conn.

433, 443 (2003).

        132.    “Liability for intentional infliction of emotional distress requires conduct that

exceeds all bounds usually tolerated by decent society . . . . Liability has been found only where



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the conduct has been so outrageous in character, and so extreme in degree, as to go beyond all

possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community. Generally, the case is one in which the recitation of the facts to an average member

of the community would arouse his resentment against the actor, and lead him to exclaim,

Outrageous!” (Citations omitted; internal quotation marks omitted.) Appleton v. Board of

Education, 254 Conn. 205, 210-11, 757 A.2d 1059 (2000). Courts throughout the country

routinely find that revenge porn is extreme and outrageous. See, e.g., P.F. v. Brown, 2024 NY

Slip Op 51356(U), ¶¶ 3-4, 217 N.Y.S.3d 856 (Queens Sup. Ct. Sept. 27, 2024); Hoewischer v.

White (In re White), 551 B.R. 814, 821-22 (Bankr. S.D. Ohio 2016).

       133.    Defendant intended to inflict emotional distress upon Plaintiff when he

disseminated intimate photographs and videos of her without her consent.

       134.    Defendant intended to inflict emotional distress upon Plaintiff when he manipulated

photos of her using artificial intelligence and posted them to the internet without her consent.

       135.    Defendant knew or should have known that emotional distress was the likely result

of his conduct, shown by inter alia, one of the titled Reddit posts: “Bailey Broadrick would be in

tears if she knew how many guys were jerking to her naked body.”

       136.    Defendant’s conduct in disseminating Plaintiff’s photos online was extreme and

outrageous and shocking to the conscience.

       137.    Defendant’s conduct in sending Plaintiff’s intimate photos to her brother was

extreme and outrageous and shocking to the conscience.

       138.    Plaintiff suffered emotional distress so severe that it has caused her cancer markers

to increase.




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        139.    The emotional distress suffered by Plaintiff was and is severe and could have

permanent consequences for her health.

        140.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered actual

damages in an amount to be proven at trial.

        141.    The harm caused to Plaintiff is knowing, willful, and irreparable, entitling her to

equitable relief ordering Defendant Gilroy to cease display or disclosure of the visual depictions.

                                          Count IV
                          Unreasonable Publicity Given to Private Life

        142.    Plaintiff realleges the allegations contained in Paragraphs 1 through 105 as if set

forth fully herein.

        143.    In Connecticut, one is subject to liability for invasion of privacy through publicity

to a matter concerning the private life “if the matter publicized is of a kind that (a) would be highly

offensive to a reasonable person, and (b) is not of legitimate concern to the public.” Ramsdell v.

Hartford Hosp., 2019 Conn. Super. LEXIS 97, *22 (2019); see also Perkins v. Freedom of Info.

Comm'n, 228 Conn. 158, 173 (1993).

        144.    Revenge porn is the epitome of invasion of privacy claims. See, e.g., Malott v.

Goodlett, 2020 U.S. Dist. LEXIS 262130, at *11 (W.D. Ky. Dec. 30, 2020) (finding revenge porn

met three categories of invasion of privacy claims, including unreasonable publicity).

        145.    By distributing intimate photographs of her without her knowledge or consent,

Defendant Gilroy intentionally gave unreasonable publicity to Plaintiff’s private life.

        146.    Defendant’s intrusion into Plaintiff’s private affairs would be highly offensive to a

reasonable person.

        147.    Plaintiff is a private person, not a public figure, and her intimate photographs are

not a matter of public concern.



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        148.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered actual

damages in an amount to be proven at trial.

        149.    The harm caused to Plaintiff is irreparable, entitling her to equitable relief ordering

Defendant to cease display or disclosure of the visual depictions.

                                              Count I
                                             False Light

        150.    Plaintiff realleges the allegations contained in Paragraphs 1 through 105 as if set

forth fully herein.

        151.    In Connecticut, the elements of a false light invasion of privacy claim are met if the

matter published concerning the plaintiff (1) is not true; and (2) is such a major misrepresentation

of the plaintiff’s character, history, activities or beliefs that serious offense may reasonably be

expected to be taken by a reasonable individual in the plaintiff’s position. Goodrich v. Waterbury

Republican-American, Inc., 188 Conn. 107, 131 (1982).

        152.    Defendant published false material when he created and posted deepfake

photographs of Plaintiff engaged in sexual acts.

        153.    By disseminating and publishing the deepfake photographs of Plaintiff, Defendant

Gilroy placed Plaintiff in a false light that would be highly offensive to a reasonable person.

        154.    Defendant had knowledge of the falsity of the publicized matter and the false light

in which Plaintiff would be placed. Alternatively, Gilroy acted in reckless disregard as to the

falsity of the intimate photographs and the false light in which Plaintiff would be placed.

        155.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered actual

damages in an amount to be proven at trial.

        156.    The harm caused to Plaintiff is irreparable, entitling her to equitable relief ordering

Defendant Gilroy to cease display or disclosure of the visual depictions.



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                                           Count VI
                                       Promissory Estoppel

        157.    Plaintiff realleges the allegations contained in Paragraphs 1 through 105 as if set

forth fully herein.

        158.    To claim promissory estoppel in Connecticut, a plaintiff must plead and ultimately

prove “(1) the promisor has failed to honor a clear and definite promise that (2) the promisor

reasonably should expect to induce detrimental action or forbearance on the part of the promisee

or a third person, and (3) the promise does, in fact, induce detrimental action or forbearance in

reasonable reliance on the promise.” Int'l Supply, LLC v. Hudson Meridian Constr. Grp., LLC,

2024 U.S. Dist. LEXIS 29294, *11 (D. Conn. 2024); see also Kent Literary Club v. Wesleyan

Univ., 338 Conn. 189, 210 (2021).

        159.    Plaintiff and Defendant made clear and definite promises to one another that the

photographs posted to their shared iCloud album would not be shared with any third parties.

        160.    Plaintiff would not have shared those photographs if not for Defendant’s clear and

definite promise, and she relied upon this clear and definite promise not to disseminate her

photographs to third parties when she shared intimate photos with Defendant.

        161.    Defendant knew or should have known Plaintiff relied on his promise because she

made it clear that the promise was a condition to her agreement to share intimate photos.

        162.    Defendant induced detrimental action or forbearance in Plaintiff by agreeing to

Plaintiff’s condition of confidentiality to share intimate photos.

        163.    Defendant did not keep his clear and definite promise to Plaintiff and instead

disseminated the intimate photographs of her to third parties.

        164.    As a direct and proximate result of Defendant’s actions, Plaintiff has suffered actual

damages in an amount to be proven at trial.



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        165.    The harm caused to Plaintiff is irreparable, entitling her to equitable relief ordering

Defendant to cease display or disclosure of the visual depictions.

                                       RELIEF REQUESTED

        WHEREFORE, in light of the foregoing, Plaintiff Bailey Broadrick requests relief from

this Court as follows:

        A.      Injunctive relief commanding Gilroy to permanently take down all intimate

photographs and videos of her, including but not limited to any and all photographs of her created

by or manipulated by artificial intelligence, that he has published on the internet and elsewhere;

        B.      Injunctive relief instructing Gilroy to cease publishing intimate photographs and

videos of her, including but not limited to any and all photographs of her created by or manipulated

by artificial intelligence, at any point in the future;

        C.      Injunctive relief instructing Reddit and any and all other internet sites where

Plaintiff Broadrick’s photographs have been published to remove all intimate photographs and

videos of her, including but not limited to any and all photographs of her created by or manipulated

by artificial intelligence, that he has published on the internet and elsewhere;

        D.      An award of statutory damages of $150,000.00 against Gilroy for each and every

photograph containing an intimate depiction of Plaintiff Broadrick that Gilroy published,

regardless of whether it was manipulated by artificial intelligence;

        E.      An award of actual and compensatory damages;

        F.      An award of attorneys’ fees and costs against Defendant Gilroy;

        G.      A specific finding that Gilroy’s actions were willful and malicious; and,

        H.      All other relief to which Plaintiff is entitled.




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                                        JURY DEMAND

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff Bailey Broadrick demands a trial by jury of all

issues presented in this complaint which are triable by jury.

       Dated: November 7, 2024.                         Respectfully submitted,

                                                        /s/ Marc J. Randazza
                                                        Marc J. Randazza, ct442312
                                                        Jay M. Wolman, ct29129
                                                        Kylie R. Werk (PHV Forthcoming)
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                                                        Attorneys for Plaintiff,
                                                        Bailey Broadrick




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                              VERIFICATION OF COMPLAINT

         I, Bailey Broadrick, am the Plaintiff in the above-captioned matter. I have reviewed the

foregoing allegations in this Verified Complaint, and I hereby declare under the penalty of perjury

that the foregoing allegations are true and correct to the best of my knowledge and understanding.



         11 / 07 / 2024
Dated:                                                      By:
                                                                    Bailey Broadrick




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